Case 1:21-cv-00583-MKB-VMS Document 144 Filed 05/08/23     Page
                                                 Hogan Lovells     1 of 2 PageID #: 2705
                                                               US LLP
                                                                                                                    Columbia Square
                                                                                                                    555 Thirteenth Street, NW
                                                                                                                    Washington, DC 20004
                                                                                                                    T +1 202 637 5600
                                                                                                                    F +1 202 637 5910
                                                                                                                    www.hoganlovells.com


                                                                                                                    Douglas A. Fellman
                                                                                                                    Partner
                                                                                                                    202.637.5714
                                                                                                                    douglas.fellman@hoganlovells.com




  May 8, 2023


  BY ECF

  The Honorable Vera M. Scanlon
  United States Magistrate Judge
  Eastern District of New York
  United States Courthouse
  225 Cadman Plaza East
  Brooklyn, NY 11201

               RE: SEC v. GPB Capital Holdings LLC, et al., No. 21-cv-00583-MKB-VMS

  Dear Judge Scanlon:

          We represent the Court-appointed monitor, Joseph T. Gardemal III (the “Monitor” or
  “Mr. Gardemal”), in the above-referenced matter. We respectfully submit this letter, on behalf
  of the Monitor, in response to the Court’s Order dated April 28, 2023.

          The Monitor wishes to confirm for the Court that, if the SEC’s motion to convert the
  Monitorship to a Receivership is granted, Mr. Gardemal as Receiver will be prepared to submit
  to the Court a plan for a distribution and claims process within 45 days of the Court’s order
  appointing the Receiver, and hopefully sooner. Moreover, upon the Court’s approval of the
  distribution plan, Mr. Gardemal believes that monies can be returned to investors very quickly
  thereafter. Mr. Gardemal also believes, for the reasons stated in the SEC’s motion and the
  Monitor’s accompanying declaration, that a Receivership and attendant litigation injunction,
  along with a defined claims process, provide the best and most efficient way to return funds to
  the investors, who are the rightful owners of those assets, and to maximize investors’ ultimate
  recovery.

          Mr. Gardemal also wishes to convey to the Court, by way of an update since submission
  of his Declaration, that the Monitor has continued to hear directly from aggrieved investors
  seeking the return of their remaining investment capital. Many of these investors are retirees,
  senior citizens, or other individuals who continue to be harmed greatly by the delay in the return
  of the funds that belong to them. Investors who have contacted the Monitor have expressed
  Hogan Lovells US LLP is a limited liability partnership registered in the District of Columbia. “Hogan Lovells” is an international legal practice that includes Hogan Lovells US LLP
  and Hogan Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Birmingham Boston Brussels Colorado Springs Denver Dubai Dusseldorf
  Frankfurt Hamburg Hanoi Ho Chi Minh City Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis Monterrey
  Munich New York Northern Virginia Paris Perth Philadelphia Rome San Francisco São Paulo Shanghai Silicon Valley Singapore Sydney Tokyo Warsaw Washington,
  D.C. Associated Offices: Budapest Jakarta Riyadh Shanghai FTZ Ulaanbaatar. Business Service Centers: Johannesburg Louisville. Legal Services Center: Berlin. For
  more information see www.hoganlovells.com
Case 1:21-cv-00583-MKB-VMS Document 144 Filed 05/08/23 Page 2 of 2 PageID #: 2706
                                                  -2-                                   May 8, 2023



  increasing frustration, anxiety, and anger that their investments not only have failed to deliver the
  promised returns, but that they also have been unable to obtain the return of their original
  investment contributions. For many investors, this is a significant part of their life savings.

          To date, sales of GPB assets have returned approximately $1 billion in gross proceeds to
  the GPB limited partnerships. Following the appointment of a Receiver, these funds would
  begin to be returned to the limited partners themselves, namely the investors in the GPB
  partnerships, to whom these monies belong.

          In sum, the Monitor continues to believe that a Receivership will provide for the most
  effective and efficient way to provide relief for investors as well as maximizing the return to
  those investors.


                                                Respectfully submitted,

                                                HOGAN LOVELLS US LLP




                                                By: _________________
                                                    Douglas A. Fellman
                                                    Robert B. Buehler
                                                    Counsel to Joseph T. Gardemal III, Monitor
